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                                           COURT FILE NO.: CV-21-00655418-00CL
                                                               DATE: 20210127

                                    ONTARIO

                        SUPERIOR COURT OF JUSTICE

BETWEEN:                                      )
                                              )
SAKAB SAUDI HOLDING COMPANY,                  )     Munaf Mohamed Q.C., Amanda C.
ALPHA STAR AVIATION SERVICES                  )     McLachlan and Jonathan Bell, for the
COMPANY, ENMA AL ARED REAL ESTATE             )     Plaintiffs
INVESTMENT AND DEVELOPMENT                    )
COMPANY, KAFA’AT BUSINESS                     )
SOLUTIONS COMPANY, SECURITY                   )
CONTROL COMPANY, ARMOUR SECURITY )
INDUSTRIAL MANUFACTURING                      )
COMPANY, SAUDI TECHNOLOGY &                   )
SECURITY COMPREHENSIVE CONTROL                )
COMPANY, TECHNOLOGY CONTROL                   )
COMPANY, NEW DAWN CONTRACTING                 )
COMPANY AND SKY PRIME INVESTMENT              )
COMPANY                                       )
                                              )
                                   Plaintiffs )
- and –                                       )
                                              )
SAAD KHALID S AL JABRI, DREAMS                )
INTERNATIONAL ADVISORY SERVICES               )
LTD., 1147848 B.C. LTD., NEW EAST (US)        )
INC., NEW EAST 804 805 LLC, NEW EAST          )
BACK BAY LLC, NEW EAST DC LLC,                )
JAALIK CONTRACTING LTD., NADYAH               )
SULAIMAN A AL JABBARI, KHALID SAAD            )
KHALID AL JABRI, MOHAMMED SAAD KH             )
AL JABRI, NAIF SAAD KH AL JABRI,              )
SULAIMAN SAAD KHALID AL JABRI,                )
HISSAH SAAD KH AL JABRI, SALEH SAAD           )
KHALID AL JABRI, CANADIAN GROWTH              )
INVESTMENTS LIMITED, GRYPHON                  )
SECURE INC., INFOSEC GLOBAL INC. and          )
QFIVE GLOBAL INVESTMENT INC.                  )
                                              )
                                Defendants )
                                              )
                                              )     HEARD: January 22, 2021
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C. GILMORE, J.

                             REASONS ON EX-PARTE ORDERS

OVERVIEW AND RELIEF SOUGHT

[1]      The Plaintiffs allege they are victims of a massive international fraud, orchestrated by a
former high-ranking government official in the Kingdom of Saudi Arabia ("KSA"), through which
at least USD 3.5 billion has been brazenly stolen, misdirected and misappropriated (the "Fraudulent
Scheme").

[2]    The former Saudi cabinet minister behind the Fraudulent Scheme, the Defendant Saad
Khalid Al Jabri ("Al Jabri"), has now relocated to Toronto in an attempt to avoid investigation.
Each of the other Defendants, led by Al Jabri, has allegedly participated in or benefited from the
Fraudulent Scheme to defraud the Plaintiffs.

[3]    The Plaintiffs allege that Al Jabri orchestrated the Fraudulent Scheme by leveraging and
abusing his high-ranking government position in the KSA to:

               establish corporations intended ostensibly to perform anti-terrorism activities in
               accordance with a government directive;

               ensure those corporations were funded by the KSA; and

               then unlawfully and fraudulently direct and misappropriate billions of dollars from
               those companies to himself, the other Defendants, and other friends, family
               members and co-conspirators.

[4]    On this motion, the Plaintiffs seek the following relief:

               A worldwide Mareva injunction against Al Jabri in respect of his worldwide assets,
               including bank accounts, corporations and properties of which he is the ultimate
               beneficial owner and directing mind.

               A Mareva injunction against the defendant QFive Global Investment Inc.
               ("QFive"), an Ontario corporation, only in respect of the shares it holds in Canadian
               Growth Investments Limited ("Canadian Growth") on the basis that funds
               allegedly stolen from the Plaintiffs have been traced to the purchase of those
               specific shares.

               A certificate of pending litigation over the property located at 14 The Bridle Path,
               Toronto (the "Bridle Path Property"), over which the Plaintiffs assert a
               constructive trust.

               The appointment of a Receiver under section 101 of the Courts of Justice Act, for
               purposes of preserving the relevant assets, in respect of (i) the New East Companies
               (as defined below) and their properties, subject to foreign recognition, and (ii)
               QFive, solely in respect of the shares it holds in Canadian Growth.
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               A Disclosure (Norwich) Order, against the persons and for the documents and
               materials particularized in the proposed Norwich Order, as required in order to
               continue tracing the funds misappropriated from the Plaintiffs and to quantify and
               discover the full extent of the Fraudulent Scheme.

[5]     I heard the ex-parte motion on January 22, 2021 and was satisfied that the record contained
sufficient evidence to meet the tests for the Orders sought. A copy of the signed Orders was sent
to counsel on that date for filing and for service on the Defendants as required. My endorsement
of January 22, 2021 indicated that I would provide reasons in relation to my decision to grant those
Orders. These are those reasons.

[6]     This case has been a massive undertaking for the Plaintiffs. The Deloitte report alone was
156 pages long with seven Appendices and multiple Exhibits. The Motion Record was 6,900 pages
long which included a 135 page affidavit from Abdulaziz Alnowaiser, the CEO of the Plaintiffs’
parent company Tahakom Investments Company (“TIC”), affidavits from various translators, and
a lengthy legal opinion from Abdulaziz Al Fahad. Mr. Al Fahad is a Saudi Arabian lawyer fluent
in Arabic and English who provided background on the KSA legal system and in particular civil
fraud claims and corporate structures, the legal effect of certain key documents, and restrictions
on the receipt of compensation from outside sources for government employees and their friends
and family. These reasons will be brief in comparison to the vast factual landscape of this case and
in consideration of the fact that this is only the beginning of a very complex case.

FACTUAL BACKGROUND

[7]     The particulars of the factual background in this case are provided mostly in the affidavit
of Abdulaziz Alnowaiser sworn January 18, 2021 (“the affidavit”), the lengthy Report of Deloitte
Middle East dated January 18, 2021dated January 18, 2021 (“the Report”) and the legal expert
report of Abudulaziz H. Al Fahad dated January 17, 2021 (“the Expert Report”).

[8]     Al Jabri is a former Director of the Department of Officers and Personnel Affairs and
Security Advisor to the Ministry of Interior of the KSA. After rising through the ranks of the Saudi
government to be appointed Minister of State and to the Council of Ministers, Al Jabri was relieved
of his titles and position on September 10, 2015. Since fleeing the KSA in 2017 after the
investigation against him commenced, Al Jabri has lived in Toronto, Ontario with his wife and
several members of his family.

[9]     1147848 B.C. Ltd ("114") is a corporation registered in British Columbia. The director of
114 is a a New York attorney, involved in setting up the U.S. entities through which Al Jabri
purchased nine properties in the U.S. A certificate of pending litigation is being sought in respect
of the Bridle Path Property which has 114 as its registered owner. The registered office of 114 is a
law firm in Vancouver.

[10] Relief is also being sought in respect of various "New East" entities created by Al Jabri and
the real property held by these entities in the United States: New East (US) Inc., New East 804 805
LLC, New East Back Bay LLC and New East DC LLC (collectively, the "New East Companies").
As further explained below, the Plaintiffs submit that Al Jabri indirectly controls and is the
beneficial owner of the New East Companies.
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[11] Canadian Growth, QFive, Gryphon Secure Inc. ("Gryphon") and Infosec Global Inc.
("Infosec") are Ontario corporations that received funds which the Plaintiffs allege were
misappropriated from them. Mareva and Receivership relief is being sought against QFive on this
motion because funds have been directly traced from the Plaintiffs into QFive that were utilized to
purchase 400,000 shares of Canadian Growth.

[12] Dreams International Advisory Services Ltd. ("Dreams International") is a corporation
registered in the British Virgin Islands, which Al Jabri uses as his alter ego. The Plaintiffs have
obtained a copy of a document titled "Establishment of the Beneficial Owner's Identity" for
Dreams International (which was located in the records of the Group Companies) confirming that
Al Jabri is the ultimate beneficial owner of Dreams International.

[13] The Defendant Jaalik Contracting Ltd. ("Jaalik") is a corporation incorporated pursuant to
the laws of the KSA. The Plaintiffs submit that Al Jabri indirectly controls and is the beneficial
owner of Jaalik.

[14] The other Defendants listed below are family members of Al Jabri, including his spouse
and children, who allegedly participated in the Fraudulent Scheme including serving as nominee
shareholders and directors of various corporations and by receiving misappropriated funds (often
when still minors): Nadyah Sulaiman A Aljabbari, Khalid Saad Khalid Al Jabri, Mohammed Saad
KH Al Jabri, Naif Saad KH Al Jabri, Sulaiman Saad Khalid Al Jabri, Hissah Saad KH Al Jabri,
and Saleh Saad Khalid Al Jabri.

[15] The Statement of Claim and the Affidavit also make reference to various co-conspirators
and third parties who, while not Defendants, have participated in and acquiesced in the Fraudulent
Scheme.

[16] The Plaintiffs allege that Al Jabri received unauthorized payments and/or profits when he
was prohibited from doing so as a government employee. Al Jabri, in concert with others,
established the Plaintiff companies ostensibly to further counter-terrorism activities allegedly in
the public interest. Thereafter, he installed his close friends and family members as “nominee
shareholders” who received profits from the companies. According to the Plaintiffs’ legal expert,
family members of Al Jabri were also prohibited from receiving profits or compensation as a result
of Al Jabri’s government position.

[17] In December 2019 after a forensic review by Deloitte, it was discovered that over 2.6B
USD had been transferred from the Plaintiffs to Al Jabri and other Defendants and co-conspirators.
Based on these findings the Plaintiffs engaged Deloitte to perform further analysis and tracing.
Using the results of that analysis, Sakab obtained a Norwich Order from this court on December
18, 2020 with respect to information related to funds transferred and bank accounts.

[18] The Deloitte investigation is still ongoing, but the report produced by Deloitte dated
December 18, 2020, which is relied upon in this motion, revealed direct and indirect payments to
El Jabri, Dreams International or Jaalik of 480M USD. This does not include funds traced to Al
Jabri’s co-conspirators and other fraudulent transactions set out in the Plaintiffs’ claim. In total the
Plaintiffs claim 3.47B USD as a result of the alleged Fraudulent Scheme.
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[19]   The types of alleged fraud include but are not limited to;

               illegitimate and double counted profit;

               transfers of profit that had no relation to the company’s actual profit;

               off-book transactions;

               inflated, handwritten and uncorroborated “valuations” of the Plaintiff companies
               which Deloitte described as “bearing no resemblance to reality” which were used
               as the basis to pay “rewards” from Sakab to Al Jabri;

               selling property owned by Al Jabri and his co-conspirators at grossly inflated prices
               to Enma Al Ared or KSA government agencies including substantial brokerage
               fees;

               the acquisition of significant real estate holding including;

               (i)     26 properties in the KSA many of which were gifted to El Jabri’s children;

               (ii)    The purchase of nine luxury properties in the U.S. through corporations;

               (iii)   The purchase of two properties in Canada for cash; one for $13M and the
                       other purchased by El Jabri’s son Khalid for $4.465M.

               (iv)    Properties purchased in Geneva and Vienna which can be traced to Al Jabri.

               Holdings in Canadian companies including QFive which are alleged to have been
               purchases with funds originating from Sakab.

[20] The Plaintiffs allege Al Jabri could never have accumulated the assets traced to him on his
government salary. All of Al Jabri’s assets were purchased with funds traceable to him which in
turn can be traced back to the Fraudulent Scheme.

The Worldwide Mareva Injunction Against Al Jabri and the QFive Mareva

[21] In order to obtain the injunction sought, the Plaintiffs must establish a strong prima facie
case of fraud, a genuine risk that the Defendant will put his assets beyond his creditors or out of
the reach of the court and, that if not granted, the moving party will suffer irreparable harm.

[22] The Plaintiffs need not prove their case at this point, they need only show that they would
likely succeed based on the record before the court. The substantive law governing this case is the
law of KSA (Shari’a law) and in the alternative, Ontario law.

[23] Plaintiffs’ counsel took the court through only one example of the elaborate manner in
which El Jabri is alleged to have misappropriated funds. In one case, one of the Plaintiff companies
(“SCC”) was “valued” at 1.3B Saudi Riyal (“SAR”) but made profits of only 2.2M SAR. Deloitte
noted at para 5.35.2 of their report that this was 595 times its net income. 50% of the “valuation”
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was then allocated as profit to El Jabri and another Person of Interest. The same profit was paid
out to them again two years later based on exactly the same valuation. Deloitte notes that the
alleged valuation was handwritten on a page without letterhead and unsigned. Deloitte concludes
that such valuations did not relate in any way to the actual financial statements of SCC.

[24] I am satisfied that the Plaintiffs’ expert legal report establishes that a strong prima facie
case has been established based on the equivalent or corresponding test in Shari’a law or based on
well-established Ontario law. That is, the Deloitte report and the affidavits and exhibits filed
demonstrate that Al Jabri used fraudulent means to divert funds that rightfully belonged to the
Plaintiffs and the Plaintiffs suffered a loss from that conduct.

[25] The documents filed establish on their face that Al Jabri was in a position of trust and
confidence in relation the Plaintiffs. He breached his duties to the Plaintiffs by preferring his own
interests and those of his family, friends and co-conspirators over those of the Plaintiffs.

[26] With respect to the requirement of establishing assets ex juris, the Deloitte report has
uncovered significant assets ex juris as further explained below with respect to the Norwich Order.

[27] Turning to the issue of irreparable harm, the Plaintiffs must establish that there is a real
risk that the Defendants will remove assets from the jurisdiction or dispose of or dissipate assets
outside of the ordinary course.

[28] It is clear from the Deloitte report that Al Jabri is adept at moving money around the world
including establishing corporations (such as the New East companies) to permit him to hold
property indirectly. In 2017 Al Jabri made a large payment to Identity Malta Agency. He and his
family are now citizens of Malta. The conditions of obtaining citizenship required Al Jabri to make
a large investment in Malta. The Plaintiffs are concerned that Al Jabri will move there with his
family or use it as another place to shield assets.

[29] I agree that, in accordance with the principles set out in Sibley & Associates LP v. Ross,
2011 ONSC 2951 at para 64, that “a pattern of prior fraudulent conduct may support a reasonable
inference that there is a real risk the pattern will continue.” Al Jabri has been bold in his schemes
including transferring large amounts of money to himself and other Persons of Interest even after
he was relieved of his duties with the government of KSA. I therefore conclude that the risk of
removal or dissipation may be established by inference given Al Jabri’s sophisticated,
international, and multi-layered means of moving money and assets.

[30] With respect to the balance of convenience I am satisfied that a refusal of the Mareva
sought in light of the substantial and comprehensive financial tracing provided by Deloitte (which
is still ongoing) would be harmful to the Plaintiffs’ chance of recovery. Indeed, the tracing reveals
that there may well be funds that form part of the Fraudulent Scheme which are well in excess of
what has been uncovered thus far. Further, the usual protections can be put into place with respect
to living expenses and variations of the Order as needed.

[31] I am further satisfied that the Plaintiffs have made full and frank disclosure and have taken
significant time and effort to put together a comprehensive record with compelling evidence of the
alleged Fraudulent Scheme.
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[32] With respect to the Mareva sought against QFive, the tests are the same as above and need
not be repeated. The evidence establishes a prima facie case as direct payments were made from
Sakab to QFive and $8M USD of those funds were used to make an equity investment in Canadian
Growth in exchange for 400,000 shares. I accept that the Plaintiffs may suffer irreparable harm if
those shares are disposed of.

[33] The Plaintiffs and their parent company TIC have provided an undertaking as to damages
with respect to both Mareva Orders sought. TIC’s 2019 income was almost $1B CDN and they
are therefore well able to stand behind their undertaking.

The Certificate of Pending Litigation

[34] The Bridle Path property was purchased on February 28, 2018 for $13M CDN cash. It was
purchased by 114 whose sole director is Mr. Wainright, a U.S. lawyer frequently used by Al Jabri
as a nominee in various entities to hold real estate assets in the U.S. Mr. Wainright’s involvement
in Al Jabri’s real estate holdings is more fully set out in relation to the grounds for granting the
Norwich Order.

[35] I find there is a triable issue with respect to a constructive trust claimed in relation to the
Bridle Path Property in that there is a strong inference it was purchased using misappropriated
funds. The equities favour granting the CPL.

The Appointment of a Receiver

[36] The Plaintiffs seek a Receivership Order over the New East Companies in the U.S. (being
entities beneficially owned by Al Jabri) and over the Canadian Growth Shares in order to obtain
the books and records of QFive.

[37] The Plaintiffs do not intend to sell assets by way of the Receivership, only preserve assets
into which the Plaintiffs have traced funds in the Fraudulent Scheme.

[38] As a Receivership is intrusive and thus to be used sparingly, the threshold for an
appointment is high one. In this case the prima facie case of fraud, along with the possibility of
the Plaintiffs’ right of recovery being put in jeopardy are important considerations. However, under
the Courts of Justice Act, the Court must consider whether the appointment is just and convenient
based on the factual circumstances of the case.

[39] In this case assets owned by the New East Companies are only beneficially owned by Al
Jabri and are therefore at greater risk of dissipation. The same risk of dissipation applies to the
Canadian Growth shares. A Receivership would also ensure that the substantial rental payments
in relation to the luxury properties are also protected. The rents are significant with total rents
being in the range of $71,500 USD per month.

[40] Finally, the cost of the Receiver is being borne entirely by the Plaintiffs at this point. This
is not a traditional Receivership in which the Receiver pays itself out of the assets of the estate,
nor does the Receiver seek to dispose of any assets. The Receiver seeks to preserve assets and
obtain financial records in order to complete the necessary tracing.
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The Norwich Order

[41] The Plaintiffs seek a Norwich Order over the third parties, documents and materials as set
out in the Order dated January 22, 2021.

[42]   The factors for the court to consider with respect to whether to grant such relief are:

               Whether there is evidence provided by the Plaintiffs sufficient to raise a valid,
               reasonable or bona fide claim;

               Whether the evidence establishes that the third parties are involved in the acts
               complained of;

               Whether the third party is the only practicable source for the information;

               Whether the third party can be indemnified for costs to which it may become
               exposed due to the disclosure, and;

               Whether granting such an Order would be in the interests of justice.

[43] As I have already found that the Plaintiffs have met the threshold of a prima facie case,
there is no question that they are able to meet the lower threshold of raising a bona fide claim.

[44] With respect to the second branch of the test, fraudulent schemes necessarily involve
innocent parties such as banks, law firms and accounting firms through which money and
transactions are processed. As set out in Isofoton SA v. Toronto Dominion Bank, 2007 CarswellOnt
2741 (Sup Ct) at para 40, innocent parties who become mixed up in tortious acts so as to facilitate
the wrongdoing of others owe a duty to the person wronged to provide information and the identity
of the wrongdoer.

[45] With respect to the law firms involved, the Plaintiffs are seeking only non-privileged
information, understanding that payments in and out of a law firm’s trust account are not
privileged.

[46] Given the above, I am satisfied that the second branch of the test is met and that the
innocent third parties named in the Order have a duty to provide the information sought.

[47] With respect to the third branch of the test, this is not a situation in which the information
can be requested from the impugned parties. Indeed, I have already found that Al Jabri was likely
to dissipate assets. There is no reason to believe that the other Defendants would not do the same
given their connection or subordination to Al Jabri.

[48] Finally, the Plaintiffs have agreed to indemnify the Respondents for their reasonable costs
in relation to the Norwich Order. The interests of justice favour granting the Order to permit
Deloitte to continue with its tracing exercise. Persons who engage in fraud cannot hide behind the
confidentiality of banking and lawyers’ records in order to shield their wrongdoing.
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[49] Given all of the above, I find that the Order sought meets the required test and the Norwich
Order shall issue.

[50] The parties shall return before me on February 1, 2021 at 2:00 p.m. for a scheduling
appointment.




                                                                                   C. Gilmore, J.

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                                         COURT FILE NO.: CV-21-00655418-00CL
                                                             DATE: 20210127


                                                  ONTARIO

                                        SUPERIOR COURT OF JUSTICE

                                BETWEEN:

                                SAKAB SAUDI HOLDING COMPANY, ALPHA
                                STAR AVIATION SERVICES COMPANY, ENMA
                                AL ARED REAL ESTATE INVESTMENT AND
                                DEVELOPMENT COMPANY, KAFA’AT BUSINESS
                                SOLUTIONS COMPANY, SECURITY CONTROL
                                COMPANY, ARMOUR SECURITY INDUSTRIAL
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                                TECHNOLOGY & SECURITY COMPREHENSIVE
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                                COMPANY, TECHNOLOGY CONTROL
                                COMPANY, NEW DAWN CONTRACTING
                                COMPANY AND SKY PRIME INVESTMENT
                                COMPANY
                                                                 Plaintiffs
                                - and -

                                SAAD KHALID S AL JABRI, DREAMS
                                INTERNATIONAL ADVISORY SERVICES LTD.,
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                                JABRI, CANADIAN GROWTH INVESTMENTS
                                LIMITED, GRYPHON SECURE INC., INFOSEC
                                GLOBAL INC. and QFIVE GLOBAL INVESTMENT
                                INC.
                                                                      Defendants

                                       REASONS ON EX PARTE ORDERS

                                                                    C. Gilmore, J.
Released: January 27, 2021
